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                Exhibit B
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    UNITED STATES DISTRICT COURT                                  NOT FOR PUBLICATION
    EASTERN DISTRICT OF NEW YORK


                                                                   ORDER
    IN RE PAYMENT CARD INTERCHANGE                                 05-MD-1720 (JG)
    FEE AND MERCHANT DISCOUNT
    ANTITRUST LITIGATION




    JOHN GLEESON, United States District Judge:

                   Having held the proceeding on November 25, 2013 and received separate letters

    dated November 27, 2013 from Class Counsel and Settlement Recovery Group, LLC (“SRG”),

    ECF Nos. 6112, 6113, the Court orders as follows:

                   First, within 10 days of entry of this Order, SRG must send to all class members

    who signed up with SRG through the referral agreement between SRG and Premier Enterprises

    Group ("Premier") the letter attached as Exhibit A to Class Counsel’s November 27 letter. ECF

    No. 6112-2, Ex. A (“Proposed Draft Letter”).

                   Second, on a going-forward basis, SRG must provide to Class Counsel, in

    advance, any materials it (or any party soliciting on SRG’s behalf) proposes to distribute in

    connection with this action to ensure that such solicitations are not misleading.

                   Third, the Court will hold an evidentiary hearing regarding which individuals

    and/or entities are accountable for misleading solicitations directed at merchants in the putative

    class. The hearing will be held on January 17, 2014 at 11:30 AM in courtroom 6C South. The

    Court will hear evidence regarding: which individuals or groups at SRG and Premier were

    involved in the solicitation process – inclusive of solicitation calls, the toll-free telephone number

    and the website contents (e.g., the “FAQ” sign-up sheet) – and in what capacities; each entity’s
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    activities in relation to the solicitation process, the level of control each exerted over the work,

    and the knowledge each had about the work being undertaken; what communications or

    documents were exchanged between SRG and Premier and what conversations took place in

    relation to this case, including the contents and identities of the authors of any scripts or other

    materials used in making solicitations. As part of this evidence, the Court wishes to hear directly

    from any individuals who made solicitations and received calls via the 800 number (identified as

    “Ryan” and “Mark” in voice messages to merchants) and those who set up and managed the

    website in order to learn what conversations they had, what materials or instructions they

    received, and which individuals or entities they reported to in connection with this case.

    Furthermore, the Court wants to hear whether SRG and Premier continue to have a business

    relationship (in relation to this case or any other), the nature of any continuing relationship, and

    whether similar referral agreements have been entered into by either entity (including between

    SRG and Matrix Payments Systems) in relation to this case. The parties shall agree on

    appropriate discovery in light of this Order and direct any related disputes and scheduling or

    coordination issues to Magistrate Judge Orenstein.

                   The Court’s purpose is to identify any persons who or entities that have made false

    or misleading communications to members of the putative merchant class in an effort to market

    claims-processing services. In the event such conduct is demonstrated, relief will not be limited

    to orders providing for corrective communications and allowing merchants to void claims-

    processing arrangements; rather, the Court intends to permanently enjoin any such persons or

    entities from involvement of any kind in claims-processing services with respect to any future

    settlement of this case.



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                                               So ordered.

                                               John Gleeson, U.S.D.J.



    Dated: December 3, 2013
           Brooklyn, New York




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